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                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF CALIFORNIA

                                      MEMORANDUM

 Honorable Garland E. Burrell, Jr.
 United States District Judge
 Sacramento, California

                                               RE: Carlos Lee SANCHEZ, Jr.
                                               Docket Number: 2:04CR00205-06
                                               REQUEST TO DISMISS PETITION

 Your Honor:

On September 3, 2009, a petition was filed with the Court alleging new law violations, specifically, a
violation of Section 11359 - Unlawful Possession of Marijuana for Sale, and Section 11360(a) -
Transportation of Marijuana, of the California Health & Safety Code. On June 24, 2011, these charges
were dismissed in Sacramento Superior Court, Case No. 09F03628.


Therefore, it is recommended that the pending petition filed on September 3, 2009, be dismissed.


                                       Respectfully submitted,


                                         /s/Scott W. Storey
                                      SCOTT W. STOREY
                                 United States Probation Officer

Dated: June 28, 2011
              Sacramento, California
              SWS/cp

REVIEWED BY           /s/Michael A. Sipe
                      MICHAEL A. SIPE
                      Supervising United States Probation Officer



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 RE:    Carlos Lee SANCHEZ, Jr.
        Docket Number: 2:04CR00205-06
        REQUEST TO DISMISS PETITION

THE COURT FINDS PROBABLE CAUSE AND ORDERS:


(X)    The dismissal of Petition For Warrant Or Summons for Offender Under Supervision dated
       August 28, 2009, that was filed with the Court on September 3, 2009.


( )    Other: To place matter on calendar for status conference. Probation Officer to contact Court.


Dated: July 14, 2011



                                          GARLAND E. BURRELL, JR.
                                          United States District Judge



cc:    Daniel S. McConkie, Jr.
       Assistant United States Attorney

       James R. Greiner
       Defense Counsel




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